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\1f\1-'\…31_' []»;h martin-iff 1,,11_=
(`_llA_I’1 ER 11 PIAN171n111v11l1171117/\71111111t1ii11117<)1'1)1¢111$)

1___] __TYY__WW_W_____W_____ _____________ ____ Oiigiiial 1"11111
|1 W_`______________W_WH______m___m________ _____ A:nended 1’[1111 (lndit'zitt‘ l:st. 12111|q etc. `11111‘11111.‘111 11`11111111'1'111111.‘)
111 7'l“1_1v ______________________________ … _ ____ 1\1111€111"11:11 l’l'¢iii (Iiit‘licnte lst_ 7.1111, ctc. 1’\1111dil`11:d. il`npphe;ihle)
l`}l~`.l%'l`()l{: _R_z_1_l1_1l_1_?,_./\_511'_9_11__~__“_____mmi__________m JOlNT Dlii%'i`()R:_l\_/_i_¢:i_i‘in__._l§ict) /\_1_11_~_1111 ____ t.`/\SIZNU.: 1__1-._181)'/‘)'
SS-"»': .\‘x.\'~x.\'- 11626 SS-`f: xxx~xx~_‘_}_()l§$_
1. 1~1_<_)111;1:-§ l
111 [)ehtnrs: Plzinsthatdo 111111:1)1111)|)’\1'§111 local rules 111111j11111citil rtilin_s;s may 11111 he e1111111'1111111le. /\ll plain.s_111111‘11111~111'1§;.11_-.

leind niodii°“ied plans shall be served tipnn n|| creditors tiiid ai eei'til`icttte 1)|`.~:ei‘vic1: l`ilcd with the L`|~rl< 111111;1111111 iii
l.nca| Rnlcs 2002-l 1C)(5). 31115-111%)(2). and 3015-?,_ Dehtnr(s) nin:t commence plain 1311_\"1111..11:1 within 311 1115 ¢. ii
filing the chapter 13 petition 111' within 30 days 111`1:1111'_\' 111'1|11: 1)1'1,|1:1' cun\‘erting; the c;i.<.e 111 chapter |..1.

1`1)C1'edit1)rs: Your rights maybe afl`ec£ed by this plnn. "/1)11 must 1`ile11 timely 111'1)111`1)1`1~111§111 iii 111'1le1't11liepiiiil, \'.1111 ;1:1§::: :i.;.
he i‘edneed, modified or eliminatedl

"1`1) All E’aa'ties: "l`iitz p§an contains 11111101131111111111‘11 provisions other thtiii those set nut ici paragraph \/lli l)ehtnr(s) inli_,t 1:11-1;\_*1\ t
box 1111 each line listed below in this section 111 state \1'|11‘1|11.~1'1111:}111111 1111'111111-51111}l nl`t|ie 1111111111111;;

 

 

i i'ii@ viiiii§itimi 0111`§5{:'1]1;§11'£1§1i111_§§1`5111"ii'i`_§§¢iiii:i 111 ii?'i~iilii}ii;i;,`-`i`-'Egtiii"iri 1i ' " nw wl 'I'i']:lud;;d' m '_i[l wm imr____;____
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\11)111111111\ 111` ajttdicin1'11_c=:1i'1)i 1111111311§€1115_1')1“_~,1_111111-111111_:'|1:131. ninne§ seeiiiit) 1111111.:,1 set l -~] …NI`__LE_:GLL_ _M_[H;m \___ _____________
0111 in Seetioii lll _____________ __ __ _ _ __ _ ___i_ ’ '
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il. P_I.- AN P»\YMPNT§ IFN(`TH _()_1*`__1_"1_._5\1\1_5_\_1\1_1_)__ DI`BTOR('§)'_ 1\'1`1 ()1{N1`. Y' .‘;`i 1"`.1-If`

/\. i\IONTHl Y_ Pl_ A_N 11;’1_7\_’_[\1_1_1"741'7‘1_'[`: '1`l115 Plan pain l`t>r thc l)eiielit til`tlie creditors the 1111111111115'l listed ldc|t)vt` iticltiitiny 11'11..:1'; ~

fees 01 10%, beginning 30 days 1`1'1)111 the Hliiigfcnii\-'crsion date 111 the event the trustee dues nut retain the 1`1111 Jt)“»'ii_ ::ii)- tiiiti 1.1
111111)11111 will he paid to ttnscetircd nonprioi‘ity creditors pi't)-i"¢ita under the 1111111:

l. _$11{1£7;_1_9______________ 1`01' ninntl)$______l'__“_ 111"_-'_1_(1___
l §§L§¢}__();_§§__7_M__ 1`111'11111111115_____1_1_7_______10__6__0__
3. 71wind_“_m______________1“0rmonth:;_______wl tu___`__&__
iz. 1)7111”11)11131 AT1770RN1;;YS 71'1<:1‘.. [____] 1\‘1)\‘1-:|7`] 11111)1111.\111
1111,111~¢¢5 _ ________ §_11:>_1)__11 _1)_1)____________"11¢_13'11111111 :::_§,_3_;.1)1)_ 011 __ __ 111111111111)11¢ _ _____:__1_;,111)1_)1_1_1)
I’H}/fzil)lc ________$|_O§§Q______ m 1111011111 (l\/lc)nths __lm to _4_6__ )

,f\l|c)wed fees tinder l.R 20 l 6~1{13)(2) are itemized below:
$_`11)00 (_`|1;1|111:1‘ 13 Banl<ruptcy, 31500.00 l\/IMl\/F,$7501)01“(2)1\512\/,$2,501) Re:»iibniit Ml\/ll\/l

'\_p_plieations for compensation 111115tbe111€11 fur 11111`1:1:5 0ve1 and 111)11\etl1e C`1111_11_1 s (1111111|1111.\ 1111 t_ ninpeiisntini_.i
iii. 1111?111\1111\111),1“ 131;<11)111,1)____1:1111_1_1\11_1»_ … ' w o '-
,\. S!-TC[_!RED (`_LA!MS: m N()NF.
[Rettiin l_ 1ei_15_pt_irstj<'_31_1_tto _l l 1_1._S _.C §13_2_5_ (a_)_( __‘1`__]1__1\/101 11111_1.{5)11 i_1_:1111_11 Re;il 11_1 l’eis_n_n___ail _l’rt_ipctt;\,_':___
l~ (»lcd'[m- Welis Fargo i___v_ __ ____________ ____ __ _ u___________"_ _ _____

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DllS l\/i()lNliS l/\ 5()328

 

 

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Ca`Se 14 28079 RAM DOB zll)l(~. 1511$@9§{1§%;1111 1 1\11:_1_1_31`&_;€11'1_101:1116 (";1-5111111111|1\'1"_1 i--.`!.‘\'ll”\,

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/\{1(11"355: 5340 N F["'Dl`:R/\L /\1'1'1_‘111';1;;1:/` 1111}111`1`1111 |’\_'11111111 1)111c nn j 7 m irm__ _l _ ____ __
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111.33064 R‘~":'~U|'¢“` P"l)`““-`HL 11\1'111|11"11|1) why :1:`1.1."13.52 »1111)11|1111`\|11111115-_1"' 111 1111

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H. V \I114T_I_ON__(_)_F___C_61_LATFRA| m NONE

11~` Y(')U ARF. A SECURED CREDITOR 1_.1$1`[".13£%1".1..()\’1/, '1"111", [)1./\1\1 8151~11<155` '1`() \1'/\| ,1112 w11111 ( ()1.1|21€.¥\1
SF,C`URING `YOUR Cl./\H\/l 11\1' '1`}‘[1~`1/\1\/101)1\1'1`11\‘1)1(.`.\'1`|"`.1).,\S|~I|’.\I<"\T`l".1\4{)'1`|(JN \‘\'|1.1,_\|,_\§1)1%|-`..\1~1\2\`1 1)1'1'1 "
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l. l{l€/\l. I’I{OPE`.IITY: m NONIE

 

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Case 14- 28079- RAI\/| D0e)?23___)_|:i|_1?7d 09/28/18 Page 3 of 6

 

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MASTF,R ASS<)Ct/\'rtc)N ` _ 1 _' T ___ _ _ 71 l ___ _ ____ ____
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111_{¢[1-@51,;.595 l\/l\/S l l( l‘OlN ll interest Rate: (l.70l_l‘_?_11_ __ _ 3000 _'11111111|11M11111l1\ _ 111
l)l R-l`\/l`.
’\VFN|URA _l:l_1_33 l 80__ _ ___ (.`hee|< ene belt)\\':
iam ,1 mails Of/\Ccoum NO_. X516_ li l:`,seruw is ineltided in the 1111)111|1|_\'
m_“"__" __ mortgage payment listed in this section
lieul l)rt)perty |:_] The dcl)tor(s) will pay
lV"’.’-lPl'lm`ip"ll R@Sldmicc i:i[itxcs i:__iin.‘aurttnee direetl_\‘

i iOther Reztl l’rn})ert)'

1\d1|1'1::1‘s t)i` Ce]lztteral:
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'_ /\11111111110["(`1'1;di1111"5ljien; 5114()11 `l`111'11lp11id in |)l'1n1: _ __ _ bitl_iit)
SUl'l`l§ 20| _
POMPANO 1513/\(;1~] 1.‘1_1 11111;1-1\5111111@; _________1'_1__9_71_‘_1., _ _5__11_).1_107 _7 1111111111111\'|11111115 _ 111
1396/§ ____ ________ _._
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l,11511ll)1gns cit Acec)nnt No.: x5|(1 _(`__“"L( eng JC|U“
"` "'"" '" `"_ i___i l£scrtn,\-' is included in the munthl_\l

llde l>mp¢|-iy mortgage payment listed in this section

lHllPrineithd Re.~;idenee l---l lim dcbu"'lsl “'i|l pay

i lO[|m. Rc.dl pmpcrw i:_itat><es i'_"`iinsurztnee directly
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/\ventuia l~`l.3 _3l8O

 

 

 

 

VFHICI F,S(S). ij NONF
3. I>ERS()NAL PR()PF,RTY: [_-j 1\101\11-‘.

(:. l lEN_AVOIl)/\NCE N()Nl:_

l). HURRF.NDER ()F_Q()l.li./\_TERAIJ: Seetn'ed t:|alms l`iled by 1111_\' creditor granted stay reliel` in this seeiidn >l111|| 11111 1'1'»,~11;~1
distribution i"oln the Chapter l3 Trtlstee.
iii N()Nli

F. l,)lRFj(`Trj§AYl\/IEN,']“_,S: Sccured Cl'¢titns filed by any creditor granted stay reliei` in this SeCt'inn Shzill nut recei'.'e111li»11~1l,11;i11;.
ibm the Ch'dpter 13 'l`rtlstee.

i:l The dehtt)r{.‘;) elect 10 make p'tymt:ttts dilcctl) 111 catch Seettred creditor listed lde|tm.lhedehturl]111]111'111l1 111,)111
Conlttm’ttion el this plan the automatic stay be terminated 111 rent 113 111 the Clehtcn(.~'l 1111d 111 1en1 111111! in l 1er1~.111 1111 .,.11. ;1;1\
1‘.1)1lel)tc)r(§) 115 10 these credi[ttl‘R Nothintj_ herein is intended t11ter1ninnte 111';1l1r1)_i'1111: the dt.htt)t'($)' 1\t.'ite l11\\ 1.'111111.‘.1:1 rw!;;

N1111j11:77111: §:t'etlitgr_ l.§tj;_t -’l l)igit_$_ _1)l` -‘\_e'.`1111_11_t_ l\_.‘t). l)_t.‘_.\‘eri]ttidn 11l`(f11|l1ttet'11l l,»f\tltli‘e_.~;.s,_\{e_l_t_iele_. et_e._l
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l 11111-111_»1-; 32 779

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l\’. TRI‘ ATMI" NT O_F_ __FE_ES_ /_\_l_\_l_l)_ PRI()RITY _(_ l_.All\’lS i1151letine1l 111 |l liSC. §50711111| ll l,i.S.t _§ |3.).3(;1)[ ill
/\ AI)lVIlNlSTR/\TIV__I _F_F FS OT_II_F`.I{__TIl/\N_l_)__EB"[`(Jl{H(S)'1\"|"1()}'{N| \‘ h l l`. l` :lt=1i \l()l\`|
B. IN'I:F.RN 41 1 R,F,\_flj`.l_\l_l_l_F. _SFR_\{_|_C_E: iii NC)NF.
(`. I):(`)l\'l,[iSTl§l,_Sl.li’_lleiI__O_Bl1l.(__)`A_Tl.ON(S)! El NONI§

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CaSe 14 28079 RAM DOB 3121113.) l!:i§d 0?{)1218\/|111.1] |11_i1'1)_.q?r1410f6 time1111111l)1‘1';yl-l'-".o‘ti"`\»1

D. OTIIER: § NONI-`.
V. T,RFATMF,NT OF UNSF»C,U,RED. N,ONPRIQKITYQ.`REDI.TQRS
.-'\_ |’111' §|-{9.3_‘) '__ 11110111|1(l\/lontl15 _~1_0__ to 6() )
l’i'o rata dividend will be calculated by the ”l`rnstce upon review ol` l`iled claims alter bar dale.
§ lichccl<cd the l)cbto1(s} willz11ne11d.-1no1|il`v to pay lUU", 11 to all alloved 111131:1‘11111| nonp1i1)ri1\ 1|11in1

(.`- S.[‘lP.K.\_K!_\_'l`_El/_Y_§:__{H__\§§iEf];`.D._I iii NONY':
*l`)ebtor(s) certify the Separate claSSil`ic:atiOn(S} ot` thc e¥ailn(s} listed above \\'il| uot prejudice other unsecured nonpri\)i'at}

creditors pursuant to ll U.S.C. § l322.

\'l. F.XECUTORY CQNV'[`VRACTVS¢ _\F§IDVU]‘_*_{EXI’IRE_D l_.l1`A§I~`.S:See11r1:1'l1`|uitn.'\‘liled|1_\‘;111_\. creditor lesaor;;ralttul.11:1_1 11'11-.'-|`111
section shall not receive 11 distribution l`rom 1|1e(_`|1z1pter l_"> 'l`ru.\'tee.
lil?_l NoNli
Vil. FNFCMIZIA,XRF»TURNS AND_ R_.l§!*`__l_ll§m.$f i:i N()Nl‘l
I_l_] 'l"he dchtor{s`) is hereby advised that thc chapter 13 trustee has requested that the debrorts) complyl 1\1tl1 51 itt l~-i oa

annual basis during the pe::ndcoc§l oi`this easc. The del)tor(s)hereby11el<11o\11|e111;esthat the deadline t`or providing 1|11~
'l`rustee with their liled tax reLurnS is on or before May l5 1)l"e:1<;i1y1:artiie ea::e is pending and thatthe1.|1‘|111111\"1111;1|1
provide the trustee (but not i`lle with the Court) with verification ol` their disposable income i|`1hei1‘ 1_11'1111.< household ineoi..L
increases by more than 3% over the previous )»'ear`s ineo1ne. [l\»'liami 1~;1.\'1‘$|

VIH- NON~-“`*TANDARD I_’_L_AN_|_’_RQVLS_IQNS. § NONI-i
§ Nonstandard provisions must be set |`orth helovi»'. A 111111_1;111111|111'11 provision `1;; a provision 111111'11|11;1'11'1`_111 included iu 1l1\_l i.o\_‘.:.
Forni or deviating from it. Nonstandard provision:, set out elsewhere in this plan are void.

iEi l\loltva"e i\/lo1liithiti11nl\/lediation

ii-.`\l 11'1: .l[).l l7J l’.11:1:1l(l|'f1

l l"~.il rt'c\ ll! l"l7)

CaSe 14 28079 RAM DOBL zt§t§s): _l!ztii)?q .Qagrt/)§7 g\/|i|it§it.l lili)ctaf.e '11117)511 7 t`a.lc 111111tl1c1'.7|-l~1"11‘1‘

| T|1e debtor has filed a Vet'ified l‘\/lotion t`or lieferral to l\/tl\/ll\/l \vith:
Wells l~`art;o 7777 7 77 77 7 7 77 77 7 7 l"l .1'1'.1lc."'1

loan number XXXXG?S| n 777
lr)1112al 1111)11€11,\1 located at§()tlt) Mystéc Pointc I)R /\|1171|6717¢11e71171111a 1 17 33|§1()77

The parties shall timel)1 comply with ali reqtnre1ncnts ol`thc Order ot` tiel`crral to l\/ll\ln-'l and all .\dnnni.\»lrati\ ,. 1)1'-_`-_ l 11. 1.
Rulcs 1‘1:1L1;131'1linj__tJ l\/ll\/ll\/E_ Wltile the Ml\/[l\/l is pending and until the trial/interim payment plan or thc permanent 111111'1-,.1.;1;:..l
modilicationl'permanent payment is established l)_v the parties absent C.`ourt order to the contrary the debtor has incltalc\! 11 pa 11
petition monthlyi plan payment (a) with respect to the debtors homestead ol` no less than thc lower ol`thc prepetition 1111111;11!1.
contractual mortoage payment or 3l% ol`lhc debtor’s cross monthl\l income (a£`ter1.lc1l11ctl111,_1at1}' amount paid 1111' ard l lt `- *
dnc lot the ptopetty) and (|3) with tespeet to income producing ptopetty_ ol` no less than 75“'1111lt|1e1;r1)ss income 11c11cr.11111 1:1.
such p11111e1t§-. as '11 good lailh adequate protection patman to the lc111|1.1. .\ll pat mci ns shall he considered linn l_\ upon :ttc-:p
by the trustee and not upon receipt by the lender.

llntil the l\/ll\/ll\/l is completed and the l~`inal licport11l`l\/lt)1'tg,11§,_1e l\'§odilieation n'lctliator is l`ilcd.'1111_\'11hicc1i1.1n to thc lentlcr`~
proot1 ot`claim on the real property described above shall he held in ;.1l1c)';111cc as to thc rc;_j,t|ltn' pa_\'tncnt and 111111'1§71_;1_1:c
stated in the proof ot`claim only. 'l`he debtor shall assert any and all other objections to the prool`ol` claim prior 111 conti
ol`thc plan or modified plan.

  

ll`the dchtor. co~ol::ligor.`co-borrowcr or other third part)1 til`applicahlc) and the lender agree to a sett|cnttnt as a rc>:ttll 111 1l1.
pending Ml\/ll\/L the debtor Will li[e the l'\/ll\/ll\/l l_.ocal l-`orm "l:`,x l‘art'c l\/lotion to `1pprove l\/lortt'a:_‘e Modil`icalion .1"1§11‘~'.:11=.-:..
with l,ender" {oz' Self"-Represented l)ehtoz"s l\/lotion to App:'ove nlt)ltt;1111e lVlodilication /\11recn1cnt with l 1.~'111111‘1) lot :1~111 1:1:..;
l»'l calendar days l`oliowin;; settlement ()nce the settlement is approved l)) the tft)tlrt. the dcl)lol shall innncdiatc|_\ amend 111
modify the plan to rellect the settlement and the lender shall amend its l)rool`ol`tf|aim to rcl`lcct the settlement '.1'.applic;1:`1: 1

ll`a settlement is reached after the plan is conlirtnod. the debtor will tile a motion to modify the plan no l:‘ter than `1‘* car 111;..1
days following approval ol`the settlement by the (fourt and thc l.cndc:' shall have leave to amend its la‘ool` ol` t_`l;;im 111 1'-.1§1- 1
the settlement reached alter conlirmation ol` the plan. 'l`he parties will then timelyl comply with any and all 1'1_~111111'1.1111'.~1.1
necessary to complete thc settlementl

la the event the debtor receives anyl financial benctit li'otn the lender as part ol`an§‘ agreement the debtor shall il111nc1.li:1tci'
disclose the financial benctit to thc ('.`ourt and the trustee and amend or 111odil`_v the plan accordingly

ll`t.he lender and the debtor l`ail to reach a settlement then no later than l~'l t‘11lc111l:11'tl11}-'s alter the 111ctliator`s l-"i11:1l l\\.‘po:'\ `
filed the debtor will amend or 111odil`}' thc plan to tai conl`orm to the |cndcr`s l"roo|`o|`t.'laim (il`the lender has tilt-d a l'r111
Claimt Without limiting the Debtor’s ri;;ht to object to the claim or proceed with a motion to va|nc; 111'1_111 provide that 1111~.1-_.,
propcrt_\1 will he “treated outside the plan." ll`the property is "11'c;1tcd outside thc olan." thcl |endcr 11 ill t11:1111nlc11111 111 r_:n.
rcllcl`to pursue available state court remedies against the propert_\’. l\lme ithstandint; the t`oreg_toing. lender maj 1`1:1:'.1 :11-111;..;.
con linn that the automatic sta_v is not in et`l`cct as to the real propert_v.

(font`irmation of the plan Wil| he Without prejudice to the assertion ofanv rights the lcndcr has to address paymcnt ot` its !)1'1».-11
ol`Ciaim.

lange .`1` ot`o

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11011:»`): __l_{_:1|1 /.1\_‘1111111_1\_1:11'1'11l|{i111 111111_1`11.~.¢1111111|11:1" l1i~7:1.11`. 1

PRO|‘ERTY ()F THFI ESTATE WIl.h VES'I` IN 'I`HI€ i)l§l%'[`()[{(§>`) UI’()N I’l,11\N (.`(`).\lli`ll€i\/l,-\'i`!();`~l.

| 1l1_‘1_‘l'1n'1_‘ Llnll 1|11: foregoing Clinptcl‘ l3 plan ES true and Col'l'cL‘l111111€1'1113|11111)-' 1)l`11c1j1111'}-.

`1;R'11lp|1 / Aznon l)ebfol‘ 6!'1_8,'2()13 sf 1'\11111lz1 .l l{icn /\1111)11 .l11inil)cl11<)1' 1 151
RL\||ill / /\I\inn bare l\4111i11.l l{im f\:n'on l"-‘l\`
_‘s Ric1111_l11 Co1_11n'11 5511. t 7 6 ')‘§;/)[11‘;

\111)1111~_\ \11`tl1 11)1‘1111`15511111 to sign 1111 [)1111:

l)cinor`($) behalf

Hy filing this documcnt, thc Attorncy for chtor(s) or Dcl)tor(s), if` nol 1‘1-1)1'0.§1:1111‘1| i)_\,’ cnnnscl\ certifies 111111 lim 111111'1`11\11 1111;
11111|1:1'1)1`1|10provisionsin this C|1aptcrl§1)lan arc identical to those contained in i.1oc‘11l 17111'111 (,`111111101‘ 13 I’|‘n: 1111.1 1111 11i 111
contains 1111 nonslandm'r_l provisions other than those set out in paragraph \f’lil.

l l -3! 11'1. lU l |TJ |‘11~__:1‘(111[{1

